9/7/2021 MA Corporations Search Entity Summary

Corporations Division
Business Entity Summary

ID Number: 001169643 | Request certificate| | New'search

 

 

Summary for: CAPE LIFE BRAND COMPANY, LLC

 

The exact name of the Domestic Limited Liability Company (LLC): CAPE LIFE BRAND
COMPANY, LLC

 

Entity type: Domestic Limited Liability Company (LLC)

 

Identification Number: 001169643

 

Date of Organization in Massachusetts:
04-17-2015

 

Last date certain:

 

The location or address where the records are maintained (A PO box is not a valid
location or address):
Address: 54 SUGAR HILL DRIVE

City or town, State, Zip code, HARWICH, MA 02645 USA
Country:

 

The name and address of the Resident Agent:

Name: NICOLE PRATT
Address: 54 SUGAR HILL DRIVE
City or town, State, Zip code, HARWICH, MA 02645 USA

 

 

 

 

Country:

The name and business address of each Manager:

Title individual name Address

MANAGER JONATHAN PRATT 1484 ORLEANS-HARWICH RD, #1782
HARWICH, MA 02645 USA

MANAGER NICOLE PRATT 1484 ORLEANS-HARWICH RD, #1782
HARWICH, MA 02645 USA

 

 

 

 

 

 

In addition to the manager(s), the name and business address of the person(s)
authorized to execute documents to be filed with the Corporations Division:

 

 

 

Title Individual name Address

SOC SIGNATORY | NICOLE PRATT 54 SUGAR HILL DRIVE HARWICH, MA 02645
USA

SOC SIGNATORY [JONATHAN PRATT 54 SUGAR HILL DRIVE HARWICH, MA 02645
UNI

 

 

 

 

 

 

The name and business address of the person(s) authorized to execute,
acknowledge, deliver, and record any recordable instrument purporting to affect an
interest in real property:

 

 

Title individual name Address
REAL PROPERTY j|NICOLE PRATT 54 SUGAR HILL DRIVE HARWICH, MA 02645
USA

 

 

 

 

 

https://corp.sec.state.ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?sysvalue=FS5my7b0zyPeMbyT4mTc.uoCIKUtCVSK2aJOmN_BnHg-

 

 

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9/7/2021 MA Corporations Search Entity Summary

 

 

 

 

 

 

 

REAL PROPERTY |JONATHAN PRATT 54 SUGAR HILL DRIVE HARWICH, MA 02645
USA
REAL PROPERTY | JONATHAN PRATT HARWICH, MA 02645 UNI
J _.] Confidential (_] Merger Co
Consent Data Allowed Manufacturing

 

View filings for this business entity:

ALL FILINGS

Annual Report

Annual Report - Professional
Articles of Entity Conversion
Certificate of Amendment

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View filings

 

Comments or notes associated with this business entity:

 

 

 

 

 

 

 

 

https://corp.sec.state.ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?sysvalue=FSSmy7b0zyPeMbyT4mTc.uoCfKUtCVSK2aJOQmN_BnHg- 2/2
